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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 13-cv-01945-WJM-CBS

   TYLER SANCHEZ,

          Plaintiff,

   v.

   DETECTIVE JOE RYAN HARTLEY,
   DETECTIVE RYAN WOLFF,
   DETECTIVE MIKE DUFFY,
   DETECTIVE HEATHER MYKES, and
   INVESTIGATOR MICHAEL DICKSON, in their individual capacities,
   BOARD OF COUNTY COMMISSIONERS OF DOUGLAS COUNTY,
   DOUGLAS COUNTY SHERIFF’S OFFICE, and
   OFFICE OF THE DISTRICT ATTORNEY FOR THE EIGHTEENTH JUDICIAL DISTRICT,

        Defendants.
   ______________________________________________________________________

                    DEFENDANTS’ JOINT MOTION TO DISMISS
   ______________________________________________________________________

          Defendants DETECTIVE JOE RYAN HARTLEY and DETECTIVE RYAN WOLFF

   (“Parker Defendants”), DETECTIVE MIKE DUFFY, DETECTIVE HEATHER MYKES,

   INVESTIGATOR MICHAEL DICKSON, THE BOARD OF COUNTY COMMISSIONERS OF

   DOUGLAS COUNTY, THE DOUGLAS COUNTY SHERIFF’S OFFICE, and THE OFFICE

   OF THE DISTRICT ATTORNEY FOR THE EIGHTEENTH JUDICIAL DISTRICT, hereby

   submit their motion to dismiss Plaintiff’s Amended Complaint and Jury Demand pursuant

   to Fed. R. Civ. P. 12(b)(6).
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      STATEMENT PURSUANT TO WJM REVISED PRACTICE STANDARD III(D)(1)

          Pursuant to WJM Revised Practice Standard III(D)(1), undersigned counsel state

   that they discussed the issues raised in this motion with counsel for Plaintiff. Plaintiff

   agreed to dismiss that part of the claim premised on the Fifth Amendment. Plaintiff

   otherwise opposes this motion.

                                     NATURE OF THE CASE

          Plaintiff Tyler Sanchez filed his Complaint against Defendants Detective Joe Ryan

   Hartley, Detective Ryan Wolff, Detective Mike Duffy, Detective Heather Mykes, Investigator

   Michael Dickson, the Board of County Commissioners of Douglas County, and the Douglas

   County Sheriff’s Office, on July 22, 2013. Plaintiff filed an unopposed motion to amend his

   complaint September 9, 2013, adding the Office of the District Attorney for the Eighteenth

   Judicial District Attorney’s Office (hereinafter the District Attorney’s Office) as a Defendant.

   Plaintiff’s Amended Complaint asserts only one claim against all Defendants: Malicious

   Prosecution in Violation of the Fourth Amendment, Fifth Amendment, and Fourteenth

   Amendment Procedural Due Process under 42 U.S.C. § 1983. (Doc. 24.) On September

   18, 2013, the Parties filed a Stipulated Motion for Dismissal with Prejudice of Plaintiff

   Sanchez’s Fifth Amendment Claim (Doc. 27), which was granted on September 18, 2013.

   (Doc. 28.)

                              ALLEGATIONS IN THE COMPLAINT

          Plaintiff alleges that he is cognitively and developmentally disabled and that his

   disorders “make it difficult for him to provide accurate information in response to


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   questioning by authority figures and make him particularly susceptible to making false and

   inculpatory statements at the suggestion of authority figures.” (Doc. 24 at pp. 3, 4 ¶¶ 13,

   15.)

          A sexual assault of an eight year old girl was reported to the Douglas County

   Sheriff’s Office on July 10, 2009. (Id. at p. 5, ¶ 18.) A trespass at private property in the

   Stonegate neighborhood in Parker, Colorado, was reported at approximately 12:40 a.m.

   on July 17, 2009, to local law enforcement. Defendants Wolff and Hartley responded to the

   call and began interviewing Plaintiff in his driveway at approximately 1:18 a.m. (Id. at p.

   5, ¶¶ 21, 22.)1

          Plaintiff alleges that Defendants Wolff and Hartley “repeatedly suggested to Mr.

   Sanchez specific details about the . . . trespass” and that they had to “ask Mr. Sanchez

   repeated questions before he allegedly described the crime by confirming or repeating back

   the information he was provided” by Defendants. (Id. at p. 6, ¶ 23.) Plaintiff further alleges

   that Defendants Wolff and Hartley “knew that Mr. Sanchez suffered from some type of

   mental impairment and limited intelligence” and, further, that they “knew that Mr. Sanchez

   was not capable of providing accurate information in response to their questions and that

   Mr. Sanchez was susceptible to pressure to agree with statements they made to him.” (Id.

   at p. 6, ¶ 24.)

          Defendants Wolff and Hartley arrested Plaintiff for second degree criminal trespass

   and took him to the Douglas County Jail, where he was advised of his Miranda rights and


          1       Defendants Wolff and Hartley are Detectives with the Parker Police
   Department and were assigned to the Douglas County Sheriff’s Office Pattern Crimes
   Unit. (Id. at p. 2, §§ 5, 6.)

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   signed a waiver, although Plaintiff asserts that he did not understand the verbal or written

   statement of rights. Defendants Wolff and Hartley continued interviewing him regarding the

   trespass of that night as well as other burglaries and trespasses and also the July 10, 2009,

   sexual assault. Plaintiff alleges that Defendants Wolff and Hartley did this despite knowing

   that the “sexual assault victim’s identification of her assailant did not remotely match Mr.

   Sanchez.” (Id. at pp. 6, 7 ¶¶ 25-27.)

          Plaintiff alleges that he falsely confessed to certain details and to other burglaries

   and trespasses, and that Defendants Wolff and Hartley knew that Plaintiff’s “multiple

   confessions were unlikely to be accurate given that they contradicted witnesses’

   descriptions of events.” (Id. at p. 8 ¶¶ 30, 31.) Plaintiff further alleges that Defendants

   Wolff and Hartley knew that Plaintiff’s statements were not “knowing or voluntary and had

   been coerced.” (Id.)

          Following Defendants Wolff and Hartley’s interview of Plaintiff, Defendants Heather

   Mykes and Mike Duffy of the Douglas County Sheriff’s Office were assigned to the

   investigation of the case and interviewed Plaintiff later in the morning of July 17, 2009.

   Defendants Wolff and Hartley had briefed Defendants Mykes and Duffy and provided them

   with a progress report. (Id. at pp. 9-10, ¶¶ 35-36.) During the interview, Mr. Sanchez

   offered to take a lie detector test. (Id. at p. 12, ¶ 46.)

          On July 18, 2009, Detectives Mykes and Duffy transported Mr. Sanchez to the

   District Attorney’s Office for a polygraph examination, to be taken by District Attorney

   Investigator Michael Dickson. (Id. at p. 14, ¶ 51.) Before the polygraph examination,


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   Detective Mykes and Duffy briefed Investigator Dickson about the on-going investigation.

   This briefing, coupled with Mr. Sanchez’s affect and demeanor, allegedly supplied

   Investigator Dickson with the knowledge that “Mr. Sanchez was not capable of providing

   accurate information in response to his questions.” (Id. at p. 15 ¶ 54.) Investigator Dickson

   then conducted and video-taped the polygraph examination. (Id. at p. 20, ¶ 71.) After the

   polygraph, Mr. Sanchez drafted a brief statement confessing to breaking into the sexual

   assault victim’s house, but not to sexually assaulting her. (Id. at p. 17, ¶ 60.) Investigator

   Dickson is not alleged to have any further interactions with Mr. Sanchez, nor did

   Investigator Dickson testify at any subsequent hearings. Nonetheless, Plaintiff alleges in

   his Amended Complaint that the District Attorney’s Office failed to train Investigator Dickson

   to conduct polygraph examinations properly without coercion, (Id. at p. 17, ¶ 61) especially

   when examining “vulnerable suspects.” (Id. at p. 28, ¶ 101.)

          A misdemeanor summons and complaint for the trespass charge was filed by the

   District Attorney on July 20, 2009. (Id. at p. 21, ¶ 73.) On July 22, 2009, Detective Mykes

   drafted and signed an affidavit in support of a warrant for Mr. Sanchez’s arrest on three

   felony charges relating to the sexual assault, and, the same day, the District Attorney’s

   Office filed a Complaint and Information formally charging three counts relating to the

   burglary and sexual assault. (Id. at p. 22, ¶ 75, 76.)

          Plaintiff further alleges that Defendants Wolff, Hartley, and Dickson assisted

   Defendant Mykes in drafting the affidavit for an arrest warrant relating to the trespass

   charge and that Defendant Wolff falsely testified during a preliminary hearing regarding the


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   knowing and voluntary nature of Plaintiff’s statements and that he did not see any

   indications that Plaintiff had any mental health issues. (Id. at pp. 23, 24, ¶¶ 80-82.)

   Defendants Mykes, Duffy, and Dickson allegedly intentionally omitted information about Mr.

   Sanchez’s obvious disabilities and known seizure disorder when drafting the affidavit (or

   assisting with drafting the affidavit) and communicating with the District Attorney’s Office.

   (Id. at pp. 23-24, ¶ 80.)

          The Douglas County Court conducted a three-day preliminary hearing regarding the

   felony charges on March 30, April 27, and April 28, 2010, at which time the court “found

   that there was probable cause to pursue all four felony charges against Mr. Sanchez.” (Id.

   at p. 24, ¶¶ 81, 84.)

          Plaintiff asserts that, as a result of the false charges brought against him, he has

   suffered “extreme emotional distress, including depression, anxiety, humiliation, extreme

   feelings of guilt, and exacerbation of his preexisting disorders,” as well as damage to

   reputation, lost wages, and costs for things such as attorneys’ fees and GPS monitoring.

   (Id. at p. 26, ¶¶ 88-89.)

                               LEGAL ARGUMENT AND AUTHORITY

   I.     STANDARD OF REVIEW

          In considering a Fed. R. Civ. P. 12(b)(6) motion to dismiss, the Supreme Court

   requires that a complaint contain enough allegations of fact, taken as true, “to state a claim

   to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), and Bell

   Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “[M]ere ‘labels and conclusions’ and


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   ‘a formulaic recitation of the elements of a cause of action’ will not suffice.” Khalik v. United

   Air Lines, 671 F.3d 1188, 1190-91 (10th Cir. 2012) (quoting Twombly, 500 U.S. at 555.) In

   applying this standard, the Tenth Circuit has held that where allegations in a complaint “are

   so general that they encompass a wide swath of conduct, much of it innocent, then the

   plaintiffs ‘have not nudged their claims across the line from conceivable to plausible.’”

   Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (quoting Twombly, 550 U.S.

   at 570). Further, the Tenth Circuit has held that “[t]he nature and specificity of the

   allegations required to state a plausible claim will vary based on context.” Kansas Penn

   Gaming, LLC v. Collins, 656 F.3d 1210, 1215 (10th Cir. 2011).

          While the 12(b)(6) standard may not always require that a plaintiff establish a prima

   facie case in his complaint, the elements of each alleged cause of action help to determine

   whether the plaintiff has set forth a plausible claim. See Swierkiewicz v. Sorema N.A., 534

   U.S. 506, 515 (2002); see also Twombly, 550 U.S. at 570. It is, however, “not . . . proper

   to assume that the plaintiff can prove facts that it has not alleged or that defendants have

   violated . . . laws in ways that have not been alleged.” Twombly, 550 U.S. at 563 n. 8

   (quoting Associated Gen. Contractors of Cal., Inc. v. Carpenters, 459 U.S. 519 (526

   (1983)).

   II.    PLAINTIFF’S CLAIM AGAINST DEFENDANTS FOR MALICIOUS PROSECUTION
          SHOULD BE DISMISSED.

          Plaintiff’s only claim against all Defendants is for Malicious Prosecution in violation

   of the Fourth Amendment and Fourteenth Amendment. As set out in Section B, below,

   such claim should be dismissed against all Defendants. As set out in Section C, below,

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   additional defenses requiring dismissal uniquely apply to certain of the individual

   defendants.

          A.     Legal Consideration

                 1.      Parameters of Constitutional Recognition

          The constitutional dimension of a malicious prosecution claim is, at best, in

   controversy within the circuits. We know from the plurality opinion in Albright v. Oliver, 510

   U.S. 266 (1994), that such claim has little support under a substantive due process

   analysis. Id. at 275 (holding that “substantive due process, with its ‘scarce and open-ended

   guideposts,’” affords no relief for 1983 action for arrest without probable cause.). Further,

   where the state provides an adequate post-deprivation remedy — such as a state tort

   action for malicious prosecution — procedural due process does not provide harbor for a

   constitutional malicious prosecution claim. See S. Nahmod, Civil Rights and Civil Liberties

   Litigation, the Law of Section 1983, § 3:66 (4th ed. 2011) (hereinafter “Nahmod”). Albright

   left open the availability of a malicious prosecution claim under the Fourth Amendment as

   the plurality opinion expressly took no stand on this issue.

          On the scope of a Fourth Amendment malicious prosecution claim, the circuits differ.

   Nahmod at § 3:67. The Tenth Circuit has considered the post-Albright dimensions of a

   Fourth Amendment malicious prosecution claim. In Pierce v. Gilchrist, 359 F.3d 1279 (10th

   Cir. 2004), the court recognized the Fourth Amendment as the source of constitutional law

   for the “initial seizure” but noted that “at some point after arrest” the constitutional analysis

   shifts to the Fourteenth Amendment’s due process clause. Id. at 1285-86. The court did


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   not reach the issue of where the Fourth Amendment right ended and the Fourteenth

   Amendment right began as it was not argued by the parties on appeal. Id. at 1286.

          In Mondragon v. Thompson, 519 F.3d 1078 (10th Cir. 2008), the Tenth Circuit

   reached the question unanswered in Pierce. Therein, the Tenth Circuit clearly divided the

   line between a claim arising under the Fourth Amendment and a claim arising under the

   Fourteenth Amendment’s Due Process Clause:

          The period of time between an unlawful arrest and the institution of legal
          process forms one constitutional claim, arising under the Fourth Amendment.
          That claim accrues when the plaintiff is released or legal process is instituted
          justifying that imprisonment. The period of time between the institution of
          that process and its favorable termination - through acquittal, habeas corpus,
          voluntary dismissal, etc. - forms a second claim, arising under the Due
          Process Clause. That claim accrues, at the earliest, when favorable
          termination occurs.

   Id. at 1083.

          Mondragon expressly did not address what impact a viable state remedy might have

   on the malicious prosecution claim sounding under the Fourteenth Amendment due

   process clause. See id. at n. 5 (“Because the only issue on this appeal is the timeliness

   of Mr. Mondragon’s claim, not its merits, we do not decide whether additional requirements,

   such as the existence of adequate state law remedies, might apply to a procedural due

   process claim.”).   However, the answer to this question was suggested by Justice

   Kennedy’s concurrence in Albright in which he stated that “our precedents make clear that

   a state actor’s random and unauthorized deprivation of [Fourteenth Amendment due

   process interests] cannot be challenged under 42 U.S.C. § 1983 so long as the State

   provides an adequate post deprivation remedy.” Albright, 510 U.S. at 284. Citing, in part,

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   Justice Kennedy’s concurrence, the 10th Circuit in Becker v. Kroll, 494 F.3d 907 (10th Cir.

   2007) held that the plaintiff had not suffered any deprivation of liberty in violation of her

   procedural due process rights because Utah law provided an adequate post deprivation

   remedy to protect the plaintiff’s non-Fourth Amendment liberty interests. See also Myers

   v. Koopman, 2012 WL 5456410 * 6 (D. Colo. Nov. 8, 2012) (“Under Becker, the existence

   of [malicious prosecution as a] post-deprivation state tort remedy precludes Myers from

   asserting a malicious prosecution claim against Koopman under the Fourteenth

   Amendment”).

                 2.      Statute of Limitations

          Mondragon expressly determined that “Fourth Amendment claims and due process

   claims for unconstitutional imprisonment are subject to special federal rules of accrual” and,

   as noted above, that the Fourth Amendment claims accrued “when the plaintiff is released

   or legal process is instituted justifying that imprisonment.” Mondragon, 519 F.3d at 1082-

   1083. While Plaintiff, here, attempts to characterize the acts of Defendants leading to his

   arrest as a malicious prosecution claim, Mondragon counseled that these claims are

   analogous to false arrest or false imprisonment claims. Id. at 1082. Malicious prosecution

   claims were said to arise “[a]fter the institution of legal process.” Id. at 1083. In any event,

   Fourth Amendment claims will accrue for purposes of the statute of limitations when the

   plaintiff is released or legal process justifying the imprisonment is instituted.

          Although 42 U.S.C. § 1983 does not contain a statute of limitations, the United

   States Supreme Court and the Colorado General Assembly have addressed the issue. In


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   Owens v. Okure, 488 U.S. 235 (1989), the United States Supreme Court held that “the

   residual or general personal injury statute of limitations applies.” Id. at 236.

          In Colorado, the “residual or general personal injury” statute of limitations is the two

   year statute of limitations set out in C.R.S. § 13-80-102(g), (I). See Fogle v. Pierson, 435

   F.3d 1252 (10th Cir. 2006).

                 3.     Probable Cause

          “[T]he existence of probable cause is a complete defense. The defendant in a suit

   based on malicious prosecution may have probable cause for the filing of the charges even

   though subsequent events may prove such charges to be erroneous. The existence of

   probable cause is alone sufficient to relieve a defendant of a charge of malicious

   prosecution.” Harvey v. Carter, 2003 WL 2197911 (D. Colo. 2003) citing Anthony v. Baker,

   808 F. Supp. 1523 at 1526 (D. Colo. 1992) and Montgomery Ward & Co. v. Pherson, 272

   P.2d 643 at 646 (Colo. 1954). See also, Novitsky v. City of Aurora, 491 F.3d 1244, 1257-

   58 (10th Cir. 2007); and Hartman v. Moore, 547 U.S. 250, 266 (2006).

                 4.     Qualified Immunity

          The doctrine of qualified immunity protects government officials “from liability for civil

   damages insofar as their conduct does not violate clearly established statutory or

   constitutional rights of which a reasonable person would have known.”                Harlow v.

   Fitzgerald, 457 U.S. 800, 818 (1982). Because qualified immunity is “an immunity from suit

   rather than a mere defense to liability . . . it is effectively lost if a case is erroneously

   permitted to go to trial.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985).


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          In Saucier v. Katz, 533 U.S. 194 (2001), the Court mandated a two-step procedure

   for resolving government officials’ qualified immunity claims: First, a court must decide

   whether the facts that a plaintiff has alleged or shown make out a violation of a

   constitutional right. Second, if the plaintiff has satisfied this first step, the court must decide

   whether the right at issue was “clearly established” at the time of defendants’ alleged

   misconduct. More recently, the United States Supreme Court reconsidered this two-step

   procedure, and concluded that:

          ...while the sequence set forth [in Saucier] is often appropriate, it should no
          longer be regarded as mandatory. The judges of the district courts and the
          courts of appeals should be permitted to exercise their sound discretion in
          deciding which of the two prongs of the qualified immunity analysis should be
          addressed first in light of the circumstances in the particular case at hand.

   Pearson v. Callahan, 555 U.S. 223, 236 (2009).

          B.      Discussion

                  1.     Plaintiff’s Fourth Amendment Claim Is Barred By the Two Year
                         Statute of Limitations

          The United States Supreme Court has not expressly recognized a Fourth

   Amendment based claim for malicious prosecution. However, as noted, the Tenth Circuit

   has recognized such a claim. 2

          Mondragon made clear that the Fourth Amendment governs the time between an

   allegedly unlawful arrest and the beginning of criminal proceedings and, further, that such




          2      Defendants recognize the Tenth Circuit’s position on this issue but also
   note the division of the Circuits on this issue and preserve this issue for purposes of
   appeal.

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   a claim “accrues when the plaintiff is released or legal process is instituted justifying that

   imprisonment.” Mondragon, 519 F.3d at 1083. Following his initial arrest by Defendants

   Wolff and Hartley, Plaintiff was charged with a misdemeanor trespass by the District

   Attorney’s office via the filing of a summons and complaint on July 20, 2009. Accordingly,

   Plaintiff’s claim would have accrued on that date.3

          Plaintiff did not file his Complaint in the present action until July 22, 2013, over four

   years following July 20, 2009. His claim against Defendants is properly classified as a

   Fourth Amendment claim and is therefore barred by the two-year statute of limitations

   applicable to § 1983 claims in Colorado.

                 2.     Plaintiff’s Fourteenth Amendment Malicious Prosecution Claim
                        is Barred by Availability of an Adequate State Remedy.

          To the extent Plaintiff’s claim against Defendants is based on the Fourteenth

   Amendment, Colorado provides a post-deprivation remedy in the form of an action for

   malicious prosecution at common law. See Myers, 2012 WL 5456410 at * 6 (“Colorado

   recognizes the tort of malicious prosecution”). Accordingly, Plaintiff does not have a viable

   constitutional claim under the Fourteenth Amendment. As in Myers, “the existence of

   [malicious prosecution as a] post-deprivation state tort remedy precludes Myers from

   asserting a malicious prosecution claim against Koopman under the Fourteenth

   Amendment.”). Id.




          3      Even if the Court were to choose to use the probable cause hearing as the
   date that legal process for the arrest was undertaken it would not alter the analysis here
   as such hearing occurred on April 28, 2010. See Doc. 24 at p. 24, ¶ 81.

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                  3.     Plaintiff’s Claim is Barred as Probable Cause was Conclusively
                         Determined by the Court and Plaintiff is Not Entitled to Re-litigate
                         the Issue.

          Even if Plaintiff’s claim for Malicious Prosecution survived the statute of limitations,

   it must fail as a matter of law because, in this case, it is undisputed that the Douglas

   County Court held a three-day preliminary hearing and found probable cause on April 28,

   2010. (Doc 24 at p. 24,,¶¶ 81 and 84). This is true regardless of whether Plaintiff asserts

   his claim under the Fourth or the Fourteenth Amendment. The law is very clear that “the

   existence of probable cause is a complete defense” to a malicious prosecution claim.

   Harvey, 2003 WL 21979111 (D. Colo. 2003) citing Anthony, 808 F. Supp. at 1526; and

   Montgomery Ward, 272 P.2d at 646; see also, Novitsky, 491 F.3d at 1257-58; and

   Hartman, 547 U.S. at 266.

          Plaintiff alleges that his weak-mindedness and false confession were the basis for

   this finding. However, Plaintiff raised this mental status issue early and often, including at

   the probable cause hearing itself (Doc. 24 at p. 24, ¶ 81). Plaintiff is not entitled to re-

   litigate that issue. Having fully litigated the issue in the state court, Plaintiff is collaterally

   estopped from re-opening the probable cause hearing. Under analogous circumstances,

   the United States Supreme Court held that a defendant was collaterally estopped from

   challenging a search in federal court under §1983 when the state court had already

   determined that there was probable cause to support the search warrant. See Allen v.

   McCurry, 449 U.S. 90, 102 (1980); and, Hubbert v. City of Moore, 923 F.2d 769, 772-73

   (10th Circuit 1991). See also, White v. Walker, 2011 WL 941060 (D. Colo. March 16, 2011),

   citing, Montgomery Ward, 272 P.2d at 646.

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          Exceptions to this rule require a type of egregious conduct not present here. Plaintiff

   has not alleged that the Defendants who testified at the preliminary hearing lied about what

   Plaintiff told them. Instead, Plaintiff alleges only that the testifying Defendants Wolff and

   Mykes “falsely claimed” that they “had no indication that Mr. Sanchez was mentally

   compromised” and that “it was not possible Mr. Sanchez’s confession was false.” (Doc. 24

   at p. 24, ¶¶ 82-83.)     Statements from fact witnesses during a preliminary hearing

   speculating as to the possibility of false confessions or a suspect’s unstated mental

   processes do not rise to the level of undermining a probable cause determination. Such

   statements could not, as a matter of law, have “tainted the proceedings as to constitute

   ‘egregious conduct’ and deny him his due process rights to a probable cause

   determination.’” Anthony, 767 F.2d at 663.

                 4.     Individual Defendants are Entitled to Qualified immunity.

          Furthermore, even if Plaintiff’s claim managed to survive the significant bars of the

   statute of limitations and the probable cause determination, there is simply no clearly-

   established constitutional right that is alleged to have been violated. Plaintiff’s basic

   premise seems to be that these peace officers should have immediately recognized a

   problem that required two years, two judges, two psychiatrists, and much disagreement

   finally to agree upon – that Plaintiff’s waiver of his Miranda rights may not have been

   knowingly and intelligently made. (See Doc. 24 at p. 25, ¶85, regarding March 9, 2012,

   receipt of Colorado Mental Health Institute report and subsequent dismissal.)

          Aside from a lack of a clearly-established constitutional duty for peace officers to

   render psychiatric evaluations, imposing such a duty would open an undesirable Pandora’s

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   Box.   Each time a defendant was found to be not guilty by reason of insanity, or

   incompetent to stand trial, the investigating officers would be subject to civil suit under the

   theory that they should have quickly discerned a mental limitation and simply quit the

   investigation. This would ignore the basic truism that even unintelligent people sometimes

   commit crimes, and that determinations of mental soundness generally require a lengthy

   psychiatric evaluation that peace officers are simply not qualified to render.

          Under the circumstances, Defendants are entitled to qualified immunity. First, as

   set forth above, Plaintiff is unable to prevail on any claims for constitutional violations

   against Defendants. Second, at the time of the alleged actions noted in the Complaint, it

   was not clearly established that any such actions would violate Plaintiff’s constitutional

   rights under the Fourth or Fourteenth Amendment. Defendants are therefore entitled to

   qualified immunity.4

          C.     Defendants are Entitled to Dismissal on Additional, Alternative
                 Grounds.

                 1.       Eleventh Amendment Immunity

          The Eleventh Amendment to the United States Constitution precludes Plaintiff from

   suing the District Attorney’s Office and divests this Court of subject matter jurisdiction. The


          4       As discussed above, case law regarding the availability and parameters of
   a constitutional malicious prosecution claim is unclear. The United States Supreme Court
   noted in Wallace v. Kato, 549 U.S. 384, 390 n. 2 (2007), that it had “never explored the
   contours of a Fourth Amendment malicious-prosecution suit under § 1983.” Nor did the
   Wallace decision undertake such exploration. Id. Indeed, it is not finally resolved by the
   Supreme Court that the United States Constitution supports a claim for malicious
   prosecution. Even if supported, however, its undefined parameters relegate it as a right
   not yet clearly established.


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   Eleventh Amendment to the United States Constitution states:

          The Judicial power of the United States shall not be construed to extend to
          any suit in law or equity, commenced or prosecuted against one of the United
          States by Citizens of another State, or by Citizens or Subjects of any Foreign
          State.

   Therefore, the Eleventh Amendment precludes federal jurisdiction over state officials acting

   in their official capacities as to retroactive monetary relief. Pennhurst State School & Hosp.

   v. Halderman, 465 U.S. 89, 102-03, 105-06 (1984). 42 U.S.C. § 1983 does not change the

   immunity analysis or the result:

          Section 1983 provides a federal forum to remedy many deprivations of civil
          liberties, but it does not provide a federal forum for litigants who seek a
          remedy against a State for alleged deprivations of civil liberties. The Eleventh
          Amendment bars such suits unless the State has waived its immunity, or
          unless Congress has exercised its undoubted power under § 5 of the
          Fourteenth Amendment to override that immunity.

   Will v. Mich. Dep't of State Police, 491 U.S. 58, 66 (U.S. 1989) (internal citations omitted).

   An entity asserting Eleventh Amendment immunity has the burden to demonstrate its

   entitlement. Woods v. Rondout Valley Cent. Sch. Dist. Bd. of Educ., 466 F.3d 232, 237 (2d

   Cir. 2006).

          Plaintiff alleges the 18th Judicial District Attorney’s Office improperly trained its

   employees to conduct polygraph examinations. See Doc. 24 at pp. 3, 17, 28, ¶¶ 12, 61,

   101. The District Attorney’s Office is an arm of the state protected by the Eleventh

   Amendment.5 See Rozek v. Topolnicki, 865 F.2d 1154, 1158 (10th Cir. 1989) (affirming


           5      The District Attorney’s Office is aware that the district court determined in
   Masters v. Gilmore, 663 F. Supp. 2d 1027, 1054 (D. Colo. 2009) that the Eighth Judicial
   District Attorney’s Office was not entitled to Eleventh Amendment Immunity. However, the
   District Attorney’s Office believes Masters wrongly decided the issue and is against the

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   the District Court’s finding that the 18th Judicial District Attorney’s Office was a state

   agency protected by Eleventh Amendment Immunity); Van De Weghe v. Chambers, 2013

   WL 656826 (D. Colo. Feb. 22, 2013); Romero v. Boulder County DA’s Office, 87 Fed.

   Appx. 696, 698 (10th Cir. 2004); Bragg v. Office of the DA, 704 F. Supp. 2d 1032, 1067 (D.

   Colo. 2009); Suggs v. Adams, 2013 WL 500444 (D. Colo. Feb. 11, 2013); Guinn v.

   Unknown, Jefferson County Deputy Atty., 2013 WL 1137125 (D. Colo. Mar. 19, 2013).

   Consequently, the Eleventh Amendment bars Plaintiff’s suit against the District Attorney’s

   Office for monetary relief. This Court should dismiss Plaintiff’s claim against the District

   Attorney’s Office.

                  2.      Entity Liability

                  The claims against the Douglas County Board of County Commissioners

   (“BOCC”) and the Douglas County Sheriff’s Office must be dismissed for a number of

   reasons: (1) the BOCC is not a proper party; (2) there is no underlying Constitutional

   violation to support the claim against the Sheriff’s Office; and (3) there is no allegation

   sufficient to assert entity liability.

                          a.      The BOCC is not a proper party

          The claim against the BOCC, although not supported with any specific factual

   allegations, is that they failed to train or supervise the deputies adequately. This is not



   weight of 10th Circuit 11th Amendment jurisprudence, both before and after the Masters
   opinion. The 10th Circuit Court of Appeals has not reviewed the District Court’s opinion, as
   Masters was resolved while an interlocutory appeal was pending. The District Attorney’s
   Office will supplement and further explain its position if Plaintiff intends to rely on Masters.


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   sufficient to state a claim against the BOCC because Plaintiff must show that the BOCC

   has some supervisory authority over the Sheriff and his deputies. See Myers v. Koopman,

   2011 WL 650328, at *11 (D. Colo. Feb. 11, 2011). Although it is undisputed that the BOCC

   has the duty and authority to appropriate funds for the operation of the sheriff’s office,

   under Colorado law only a sheriff has the right to supervise and control the sheriff’s

   deputies. Tunget v. Board of County Com'rs of Delta County, 992 P.2d 650, 652 (Colo.

   App.1999); see also, Bristol v. Bd. of Cnty. Com'rs of Cnty. of Clear Creek, 312 F.3d 1213,

   1219 (10th Cir. 2002). "[O]nly a [S]heriff has the right to supervise and control the [S]heriff's

   deputies" under Colorado law. Myers, 2011 WL 650328, at *11 (citing Tunget, 992 P.2d

   at 652; and Bristol, 312 F.3d at 1219). Accordingly, "the BOCC does not have the legal

   authority to control or supervise the [S]heriff and the [S]heriff's deputies." Myers.

                         b.     There is No Underlying Constitutional Violation.

          With respect to the Sheriff’s Office, it is well-established that “[a] municipality [or in

   this case, county] may not be held liable where there was no underlying constitutional

   violation by any of its officers.” Hinton v. City of Elwood, Kan., 997 F.2d 774, 782 (10th Cir.

   1993), citing, City of Los Angeles v. Heller, 475 U.S. 796, 799, (1986); Apodaca v. Rio

   Arriba County Sheriff’s Dept., 905 F.2d 1445, 1447-48 (10th Cir. 1990); Watson v. City of

   Kansas City, 857 F.2d 690, 697 (10th Cir. 1988).

          As explained at-length above, Plaintiff’s claim for malicious prosecution fails as a

   matter of law because it is undisputed that the court found probable cause and that the

   existence of probable cause is a complete defense.


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                Additionally, in order to state a claim for malicious prosecution, Plaintiff would be

   required to prove that Detectives Mykes and Duffy “acted with malice.” Novitsky, 491 F.3d

   at 1258; see also, White, 2011 U.S. Dist LEXIS 27554, citing Montgomery Ward, 272 P.2d

   at 646 (“[t]he existence of probable cause is alone sufficient to relieve a defendant of a

   charge of malicious prosecution. Both malice and want of probable cause must be proved

   to justify a recovery”). There is no indication or factual allegation of malice.

             Plaintiff cannot state a claim against the deputies as a matter of law. In the absence

   of an underlying claim against its deputies, the Douglas County Sheriff’s Office has no

   liability.

                             c.     There is No Basis for Entity Liability.

             Finally, even if there were a constitutional violation, Plaintiff’s allegation, that Deputy

   Mykes was not trained on how to apply interrogation techniques “to suspects who may be

   vulnerable to coercion due to disabilities or low IQ” (Doc. 24 at p. 20, ¶70) is not sufficient

   to state a claim for entity liability based on a malicious prosecution claim. “Failure to

   supervise and failure to train are treated the same in the Tenth Circuit. To succeed on their

   failure to train and/or supervise claim, plaintiffs must demonstrate the supervisor's inaction

   was the result of deliberate indifference.” Doe v. Boulder Valley Sch., 2012 WL 4378162

   (D. Colo. Sept. 25, 2012) citing Whitewater v. Goss, 192 Fed. Appx. 794, 797 (10th Cir.

   2006) and Graves v. Thomas, 450 F.3d 1215, 1218 (10th Cir. 2006). Plaintiff’s allegation,

   that on this one occasion, a deputy was inadequately trained, even if true, would not

   support a finding of deliberate indifference on the part of the Douglas County Sheriff’s

   Office.

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                                        CONCLUSION

         WHEREFORE, for the reasons set forth above, Defendants request that Plaintiff’s

   claim against them be dismissed. Defendants further request that the caption be amended

   as appropriate as a result of any order in this matter and also request their costs and

   attorney fees, and such further relief as may be available.

                                            Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 23rd day of September, 2013, I electronically filed the
   foregoing with the Clerk of Court using the CM/ECF system which will send notification of
   such filing to the following e-mail addresses:

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   and I hereby certify that the foregoing was placed in the U.S. Mail, postage prepaid, and
   addressed to the following:

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